    Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 1 of 7 PageID #:1




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



DEVINA MCCATREY,

              Plaintiff,




UNITED STATES OF AMERICA,
JACOB MEYER, M.D., Individually, and
HOLY CROSS HOSPITAL, a Corporation,

               Defendants.

                                   COMPLAINT AT LAW


        NOW COMES the Plaintiff, DEVINA MCCATREY, by her attorneys, D&W LAW

GROUP PC,complaining of Defendants, JACOB MEYER,M.D., Individually, and HOLY

CROSS HOSPITAL, a Corporation, and states as follows:

PROCEDURAL HISTORY


        1.     This matter was originally filed in Cook County and assigned case number 20 L

7317.


        2.     Subsequently, Plaintiff was informed that defendant Meyer was an employee of a

federal qualified health provider, and this matter was removed to the United States District Court

for the Northern District of Illinois on that basis. The United States of America was substituted

for Dr. Meyer and the matter assigned case number 20 C 6333.
     Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 2 of 7 PageID #:2




       3.      After this matter was removed, the United States filed an unopposed motion to

dismiss forPlaintitrs failure to exhaust her administrative remedies. The motion was granted

and the case dismissed.


       4.      Plaintiff then sent a claim using form 95 to the U.S. Department of Health and

Human Services. Per their correspondence dated February 8, 2021, the claim was received in

their office on December 21,2020. See attached Exhibit A.

       5.      HHS requested Plaintiff provide certain bills and records pertaining to the claim,

which Plaintiff tendered on March 26, 2021. See attached Exhibit B.

       6.      HHS has failed to respond to Plaintiffs claim in the four months since. HHS has

had the claim in their office for seven months altogether. Pursuant to 28 U.S.C. §2675, Plaintiff

is entitled to file suit six months after the claim has been received. She elects to do so now,




COUNT I - MEDICAL NEGLIGENCE - Defendant. JACOB MEYER. M.D.. Individually
and as an Actual and/or Apparent Agent and/or Eniplovce ofllOLY CROSS HOSPITAL,a
Cornoration.


        1.     On and after July 20, 2018, Defendant, JACOB MEYER, M.D., was licensed to

perform medicine in the State of Illinois, and provided medical care to patients at Defendant,

HOLY CROSS HOSPITAL, located at or near 2701 W. 68"" St. in Chicago, Illinois, State of

Illinois, County of Cook.

       2.      On and after July 20, 2018, Defendant, JACOB MEYER, M.D., was an actual

and/or apparent agent and/or employee of Holy Cross Hospital.


                                                                                           Page 2 of ti
     Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 3 of 7 PageID #:3




       3.     On and after July 20, 2018, Defendant, JACOB MEYER, M.D., had a duty to

conform to the appropriate standard of medical care in the management and treatment of patients.

       4.     On July 20, 2018, Plaintiff, DEVINA MCCATREY, presented to Defendant,

HOLY CROSS HOSPITAL to undergo an oophorectomy. Defendant, JACOB MEYER, M.D.

performed the procedure.

       5.     On July 20, 2018, Defendant JACOB MEYER, M.D., deviated from the standard

of care in one or more of the following ways;

              a.      Carelessly and negligently perforated one of Plaintiffs organs while

                      performing the procedure;

              b.      Carelessly and negligently failed to avoid major organs while performing

                      the procedure;

              c.      Failed to order a consult with other physicians when Plaintitfs symptoms

                      warranted a consult;

               d.     Failed to make certain there were no perforations before performing the

                      procedure;

               e.     Failed to diagnose and treat Plaintiffs perforation,

               f.     Failed to use surgical equipment in a safe manner, and

               g.     Was otherwise careless and negligent.

       6.      As a result ofDefendant, JACOB MEYER, M.D,'s negligence, Plaintiff, DEVINA

MCCATREY, was caused to suffer severe and permanent injuries.


                                                                                      Page 3 of6
     Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 4 of 7 PageID #:4




       WHEREFORE, Plaintiff, DEVLNA MCCATREY,demands judgment against Defendant,

JACOB MEYER, M.D., Individually, and as Actual and/or Apparent Agent and/or Employee of

Holy Cross Hospital, a Corporation, in excess of $75,000.

COUNT II; MEDICAL NEGLIGENCE -HOLY CROSS HOSPITAL,A Corporation.

       1.      On and after July 20, 2018, Defendant, HOLY CROSS HOSPITAL, provided

medical care to patients at their facility located at or near 2701 W. OS"* St. in Chicago, Illinois,
State of Illinois, County of Cook,through their actual and/or apparent agents and/or employees.

       2.      On and after July 20, 2018, Defendant, HOLY CROSS HOSPITAL,through their

actual and/or apparent agents and/or employees, had a duty to conform to the applicable standard
of medical care in the management and treatment of patients.

       3.      On July 20,2018,Plaintiff, DEVINA MCCATREY presented to Defendant,HOLY

CROSS HOSPITAL, to undergo an oophorectomy. Defendant JACOB MEYER,M.D., the actual

and/or apparent agent and/or employee of Defendant, HOLY CROSS HOSPITAL, performed the
procedure.

       6.      On July 20,2018, Defendant, HOLY CROSS HOSPITAL,through its actual and/or

apparent agent/and or employee. Defendant, JACOB MEYER, M.D., deviated from the standard
of care in one or more of the following ways:

               a.      Carelessly and negligently perforated one of PlaintifPs organs while

                       performing the procedure;




                                                                                          Page 4 of6
    Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 5 of 7 PageID #:5




             b.    Carelessly and negligently failed to avoid major organs while performing

                   the procedure;

             c.    Failed to order a consult with other physicians when Plaintiffs symptoms

                    warranted a consult;

             d.     Failed to make certain there were no perforations before performing the

                    procedure;

             e.     Failed to diagnose and treat Plaintiffs perforation,

             f.     Failed to use surgical equipment in a safe manner; and

             g.     Was otherwise careless and negligent.

      7.     As a result of the above stated acts and omissions of Defendant, HOLY CROSS

HOSPITAL, through its actual and/or apparent agent and/or employee, JACOB MEYER, M.D.,

Plaintiff, DEVINA MCCATREY, was caused to sutler severe and permanent injuries.

      8.     Attached hereto is an affidavit of one of Plaintiffs attorneys pursuant to 735 ILCS

5/2-622.


       WHEREFORE, Plaintiff, DEVINA MCCATREY, demands judgment against Defendant,

HOLY CROSS HOSPITAL,in excess of$75,000.




                                                                                      Page 5 of6
     Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 6 of 7 PageID #:6




                                           Respectfully submitted,
                                           Plaintiff, DEVINA MCCATREY,

                                           /s/Scott Woltman
                                           SCOTT B. WOLFMAN,
                                           One ofPlaintifTs Attorneys




D&W Law Group, PC.
641 W.Lake Street, Suite 400
Chicago, Illinois 60661
Ph#312/258-1800
l.D. #28765
kiimri(</Hvoltinanl:iw.com




                                                                         Page 6 of6
          Case: 1:21-cv-04018 Document #: 1 Filed: 07/28/21 Page 7 of 7 PageID #:7




                             UNITED STATES DISTICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

DEVINA MCCATREY,

          Plaintiff,


JACOB MEYER, M.D., Individually,
And HOLY CROSS HOSPITAL, A Corporation,

          Defendants.




                          AFFIDAVIT PURSUANT TO 735 ILCS 5/2-622


          1, SCOTT B. WOLFMAN,being first duly sworn on oath, states as follows:

          1.     I was unable to obtain a consultation required by paragraph 1 of 735 ILCS 5/2-622

because a statute of limitations would impair the action and the consultation required could not be

obtained before the expiration of the statute of limitations.

FURTHER AFFIANT SAYETH NOT.




                                                         scorr B. WOLFMAN
                                                          Attorney for the Plaintiff

Subscribed and Sworn to.before
me this        ^dav o
                                                       KUMRI SULEJMANl-PRVOR
                                                               OWoal Seal
                                                       NouryPuW'R-S'sieo' Illinois
                                                    My Cofflfrtition Expfas Apr 14.2022
